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UNITED STATI]S DISTRICT COURT
                   OF NEW YORK
::YITY-?]:]O''                                                  -X

ANDREA MORIN,
                                Plaintiff,                                 VERIFIED
                                                                           COMPLAINT

                        -against-                                          Index No.

FORDHAM UNIVERSITY, HOWARD ROBNSON, and
MARY ANN FORGEY

                                Defendants.

                                                               -x

                                INTRODUCTORY STATEMEN]I

         This is an action for equitable relief and monetary damages against defendants Fordham

University., Howard Robinson, and Mary Ann Forgey.

                                           THE PARTIES

         1.     Andrea Morin ("Plaintiff') was, at all times relevant, a citizenof the State of New

York and, at all times relevant, was a student at Fordham University. enrolled in the Fordham

tCollege of Continuing and Professional Studies.

         2.     Fordham University ("Defendant University") is anrl, at all times relevant, was a

private institution of higher learning, licensed and accredited under the laws of the State of New

'York.

         3.    Howard Robinson ("Defendant Robinson") was, at all times relevant, a tenured

Professor at Fordham University and a full-time member of the faculty of Defendant University's

(iraduate School of Social Service.

         4.    Upon information and belief, Defendant Robinson       is;   also licensed by New York

litate as a Clinical Social Worker and is subject to the rules and regulations of that licensing.
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        5.        Mary Ann Forgey ("Defendant Forgey") is and, at iall times relevant. was. a

tenured Professor at Fordham University and afull-time member of the faculty of Defendant

University's Graduate School of Social Service.

      6.          Upon information and belief, defendant Forgey is also licensed by New york

State as a Clinical Social Worker and is subject to the rules emd regulations of that licensing.

       7.         Defendant University employed, acted through, anclis responsible for the actions

of the agents and employees described in this Complaint.

                          JURISDICTION AND VENUE ALI,EGATIONS

       8.         TtrisCourthasjurisdictionoverthisactionunder20U.S.C. $1681 et. seq.,and,42

U.S.C. $2000e based on federal question and pendent jurisdiction.

       9.         Venue is appropriate in this district pursuant to 28 [J.S.C $1391.

                                     FACTUAL ALLEGATIONS

       10.        Plaintiff, at all times relevant herein, resided in Wesitchester County.

                  a.     Plaintiff began classes at Fordham Unriversity in Spring 2007 andleft

       Fordham after Fall 2007 , achieving a GPA of 2.93 at The F ordham College of Liberal

       Studies.

       11.     Commencing in the Fall of 2019, Plaintiff was enrolled in the Fordham College             of
Continuing and Professional Studies, and was accepted in Spring12020 into the Bachelor of Arts

program, in the School of Social Work at Defendant University (hereinafter "BASW").

       12.    She has since maintained      a grade point average of   3,,52   for those credits, with the

exception of the single grade that is one subject of this Complaint. Plaintiff has eamed a total        of
121.5 credits (of the program's required 124 qedits) toward her BASW degree.
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       13.     In the courses of her BASW work from Spring 2019 andprior to the Fall of 2020,

Plaintiff had achieved: a) grades of B and above in all gradeti courses, and b) had passed all

"Pass/Fail" programs.

       14.     In the Fall2020 semestet, Plaintiff was enrolled at Defendant University in three

courses and a Field Work program.

      1   5.   Among the three courses in which Plaintiff was enrolled was "Integrating Human

Rights and Justice in Practice" (SOWK 6040)" then taught at Defe,ndant University by

Defendant Robinson (hereinafter referred to as "Defendant Robinson's class").

      16.      Another of the courses in which Plaintiff was enrolled was the course "social

Work Practice with Individuals Across the Lifespan" (SOWK 632.3) then taught at Defendant

University by Defendant Forgey (hereinafter referred to as "Defendant Forgey's class").

      17   .   Defendant Robinson's class was conducted in the Fall2020 semester by Zoom

video conferencing.

      18.      All the other   courses in which Plaintiff was enrolled in Fall 2020 were conducted

by Zoom video conferencing as well.

      19'      Prior to September 10,2020, Defendant Robinson had conducted one class

session viaZoom in the Fall2020 semester.

      20.      A regular class session in Defendant Robinson's class was held via Zoom on

September 10,2020.

      21'      At the commencement of that class session, Plaintiff informed Defendant

Robinson that she did not feel well but would still participate in the class with
                                                                                  her Zoomcamera
off when Plaintiff was unwell.
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          22'     During the class, everyone except Plaintiff vvent into a breakout room
                                                                                         on Zoom as
 directed by Def'endant Robinson.

          23.     A.fter Defendant Robinson sent all the other students to a breakout room. plaintiff

 remained in tlLe main zoom session.

          24.    During that period, Plaintiff turned away frorn the screen but then heard noises     of
a sexual nature in the voice of Defendant Robinson. When Plaintiff turned back
                                                                               to the screen,

she then saw Defendant Robinson masturbating on the video.        Plaintiff observed Defendant

Robinson from above his waist, and observed him for a period of 1.5 minutes, during which

time he was shaking, breathing hard, and saying ..oh fuck yeah.,,

       25-       lPlaintiff recorded the events described in the paragr:aph above on her cellphone.

       26.       Druring the video but after the events described abo've, Defendant Robinson

walked away, then came back calling Plaintiff by her name, asking "Andrea, are you still

there?"

       27.       At that point, Defendant Robinson removed Plaintilf from the Zoomvideo

conference.

       28.       Imrrnediately following the incident, Plaintiff reache,d out to Defendant Fordham's

agents, at the Counseling and Psychological Services office. to seek advice on reporting
                                                                                         the

incident with Defendant Robinson.

      29-        On September 10, 2020, Plaintiff was told by Counsieling and Psychological

Services that:

                 a.     there was no mechanism for reporting the incident other than going

      through the Dean; and




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                 b.         if Plaintiff reported the incident (meaning complain about Defendant

          Robinson's masturbating) . . . "however, I do want to wam you that there            will   be negative

          consequences to you from the university     if you tell"

          30.    Immediately following the incident, that same day, Plaintiff informed her

professor for her next class (SOWK 6323) that she was unwerll and unable to attend class.

          31.    S;OWK 6323 was being taught then by Defenrlant Forgey.

          32.    A1ter the SOWK 6323 class ended, on September 10, 2020, Plaintiff informed

.Defendant University's employee, Dean Steve Albanese, Associate, Dean of the School                    of
.Professional an<l Continuing Studies about the incident.

          33. l\t Dean Albanese's request, Plaintiff then sent Dean Albanese an e-mail with full
rletails and the video.

          34.    Orr September 11, 2020, Defendant University's employee, Kareem Peat from

'Iitle IX communicated with Plaintiff via e-mail      about the incident.

         35.     Orr September 12,2020, a Saturday, Defendant Robinson emailed Plaintiff that he


'was   "thinking about her" and asked "how she was feeling."

         36.     Duning Plaintiffs initial communication via Zoomvrith Mr. Peat on September

14,2020, he informed Plaintiff that a Title IX investigation could         bre   conducted as to Defendant

llobinson, if requested.

         37.     OrL or   after September 14,2020, Plaintiff was infornned that Defendant Robinson

rvas placed on leave by his union    with   a no contact   directive. As   a   result of that action,

Defendant University suspended Defendant Robinson withouLt pay.
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        38.    On September 18, 2020, Plaintiff signed a Title IX complaint against Defendant

Robinson for vioXating Fordham's prohibition against "sexual Exploitation and Other Sexual

Misconduct- Sexual Exhibitionism"

        39.    On or about November 13,2020, Defendant lJniversity's employee, Dean

Albanese and olhers attempted to obtain extensions of time on behalf of Plaintiff to permit her to

,complete the coursework in the three courses being taken in the Fall2020 semester.

        40.    llhLose courses were:


               a..     Statistics I (ECON 2140)

               b.      Integrating Human Rights and Justice in Practice (SOWK 6040)--to wit,

       Defendanl. Robinson's class: and

               c.      Social Work Practice with Individuals Acrosis the Lifespan (SOWK 6323)-

       -to wit, Defendant Forgey's class.

       4I.     Derfendant Forgey declined to give Plaintiff the timerperiod defined in an

 "Incomplete" for SOWK 6323. Instead, Defendant Forgey told Plaintiff that she must complete

 her course work before the commencement of the Spring 2021 sernester.

       42.     Upon information and belief, on October 5,2(120, Nzlr. Peat from Title IX

 interviewed Deferndant Robinson, wherein he denied all of the allergations.

       43.     Upon information and belief, as of the October 5 interview, Defendant Robinson

was unaware that his actions on September 10, 2020, had bee'n recorded.

       44.     In the October 5 interview. Defendant Robinson:

               a.     completely denied the allegations made by Plaintiff;

               b.     described the allegations as retaliatory against him;

               c.     told the investigator that Plaintiffs complaint was "out of reality" and
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        "psychotic;"

                 d.      told the investigator that he "didn't have tirne" to do what Plaintiff alleged

        because he was supervising the breakout rooms and emailirag the PowerPoint to the

        students; and

                 e.      stated he has erectile dysfunction and couldn't have been masturbating.

        45.      IJpon information and belief, it was only after his Orctober 5,2020 interview that

Defendant Robinson was informed that his actions on Septernber 10, 2020, had been video

recorded.

        46.      On October 20,2020, Title IX interviewed Defendant Forgey as part of the

.Robinson investigation. In her interview, Defendant Forgey:

                 a.      said that she had never met Plaintiff in perso,n to that point and only knew

        her as one would know a student inaZoom class.

                 b.      described Plaintiff as present in class in her iseptember 10 class, at least at

        the beginning.

                 c.      did recall getting an email from Plaintiff asking permission to leave her

        camera   off in Defendant Forgey's class due to health    issues,

                 d.      said she received the request for accommodartions in the class and that

       Defendant Forgey described Plaintiff as "obviously challenlged" by the underlying

       incident (which she said Plaintiff did not describe to her).

        47.      On October 20,2020, Defendant Forgey state<l she did not know Defendant

Itobinson to then be the subject of the Title IX investigation.

       48.       On October 26,2020, in a second Title IX interview, after viewing the video,

Defendant Robinson:
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                 2r.    stated that his behavior in the video was caused by a "very strong urge to

        urinate" and that such urges arc aregular issue for hirn due to his age and the medication

        he is taking.

                b.      explained that he was shaking his legs because he needed to urinate;

                c.      explained that his labored breathing w,as a result of trying to hold in his

        urine; and

                dl.     acknowledged he had the timeline he clescribed on October 5 wronq the

        first time.

        49.     llpon information and belief, Mr. Peat intervir:wed other professors and students

rluring the Title IX investigation.

        50.     On December 23,2020, the Title IX investigation ollPlaintiffs complaint was

completed.

        51.     DuLring the period September 2020 through February           202I, Plaintiff re-

conrmenced her c,ourse work in the three intemrpted courses of the Fall2020 semester.

        52.     OniJanuary 13,2021, Professor Forgey gave F'laintillf a failing grade in the

!iOWK 6323 class, without any in-course counseling, warning, or chance to remedy any

purported deficierrcies in her work and refused to discuss PlaiLntiff   r;   course work after failing her.

       53.      On January 26,2021, Plaintiff was informed that Defendant Robinson was

terminated from Defendant University, as a result of the Title IX investigation of Plaintiffs

complaint.

        54.     Defendant Robinson and Defendant Forgey were, as of the Fall of 2020, long-

term colleagues on the full-time faculty of Defendant Univers;ity.
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        55.     Defendant Robinson and Defendant Forgey were, as of the Fall of 2020, co-

contributors to at least one book.

        56.     IJpon information and belief, Defendant Robinson and Defendant Forgey were, as

of the FalI of 2020, friends.

       57.      Plaintiff completed the course work for her other "irrcomplete" courses from Fall
'.2020 and was graded
                      as   follows:

                a.      Statistics   I:   Grade of B; and

                b.     Integrating Human Rights and Justice in Practice Grade of B+ (SOWK

       6040).

       58.      Defendant Forgey's award of a Grade of "F" was the only grade below the level      of
 "B" Plaintiff received while in attendance at Defendant University'from Spring forward.

       59.      As was and is known to all the defendants and to all Defendant University's

:rgents, any grade Plaintiff received under a "B" would cost Plaintilf her scholarship from the

I\ew York State Access-VR program and prevent her from      n:Leetingl   the requirements for

advanced placement in the Masters of Social Work program irt Defendant University.

       60.      As a result of Defendant Forgey's action:

                a.     Plaintiff lost her Access-VR program schola:rship;

                b.     Plaintiff did not complete her undergraduate degree program in time to

       graduate in May 2021;

                c.     said delay in graduation prevented Plaintiff fiom receiving an increase    in

       her pay at work; and

                d.     Plaintiff was denied advanced placeme,nt in the Fall of 2021 into the

       second year of the Masters of Social Work Program at Defendant University.
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            61.   After receiving the Grade of "F" from Defendant Forgey, Plaintiff tried without

success, to appeal the grade given.


            62.   During that appeal process, in February 202I, Plaintiff was told by two         of
Defendant University's agents--to wit, Dean Debra McPhee and Doan Linda White-Ryan--that

Plaintiffs complaints about Defendants Robinson and Defendant Forgey constituted plaintiff

.making a negative assessment of Fordham university as an institul.ion.

            63.   Defendant University's agents--to wit, Dean Debra lMcPhee and Dean Linda

White-Ryan--further told Plaintiff that "they decided" to allow Plaintiff to take the "Part Two"             of
iSOWK 6323 (nearring SOWK 6324) in the Spring 2021 session and "hope for the best", and

explicitly expressed to Plaintiff their opinion that         a person   "could not" do well in "Part Two"   if
t.hat student did not do   well in "Part One" (i.e.,SOWK 6323).

            64.   In fact, Plaintiff received   a   B- in SOWK 6324 inthe Spring 2021 semester.

            65.   Defendant University's agents--to wit, Dean Debra lvlcPhee and Dean Linda

'White-Ryan.--also falsely told Plaintiff that the Defendant Forgey's course, "Social Work

lPractice   with Individuals Across the Lifespan (SOWK 6323)" was not available in the Summer

1)021 session.

            66.   In fact, SOWK 6323 was offered at Defendant University in the Summer 2021

session.

        67.       Alrso, in January 2021, one of Defendant University's agents--to         wit, Dean White-

llyan--stated in her interview with the Title IX office that Plaintiffs complaint about Defendant

llorgey caused Dean White-Ryan to have "grave concerns" about Plaintiffs fitness to be a social

rvorker because Dean White-Ryan considered Plaintiff to be blamirrg someone else instead               of
being accountabler for herself.




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                                   FIRST CAUSE OF ACTION

                                SEXUAL HARASSMENT CLAII\,I
                                IN VIOLATION OF TITLE IX
                                       20    u.s.c. $ 1681

      68.      Plaintiff hereby repeats and realleges each allegation in the paragraphs above.

      69.      I'laintiff was subjected to sexual    harassment by De1'endant Robinson when he

masturbated on the screen of aZoom call during class.

      70.      I'laintiff reported the incident to the Dean and filed a Title IX claim, which put the

Defendant Univerrsity on notice of the incident.

      71.      Defendant University had actual knowledge of the incident.

      72.      Derfendant University is subject to the provisions of 20 U.S.C. $ 1681.

     73.       W"herefore, Plaintiff seeks equitable and monertary relief.

                                 SECOND CAUSE OF ACT'ION

                                    RETALIATION CLAIVI
                                 IN VIOLATION OF TITL]E IX
                                            20   u.s.c.   $ 1681

       74.     Plaintiff hereby repeats and realleges each albgatiorr in the paragraphs above.

       75.     Plaintiff participated in   a protected    activity by comprlaining to the Title IX office

about Defendant llobinson' s sexual misconduct

       76.    Defendant Forgey had knowledge that Plaintilf was engaged in a protected

ttctivity, when she was interviewed by Title IX worker, Mr.        P,eat.


       77.    There was an adverse school-related action aff.er Plaintiff filed the Title       IX
incident report with the Defendant University; to wit, Defendant Forgey's award of a grade of

"F" to Plaintiff in SOWK 6323

       78.    Defendant University is subject to the provisions of 20 U.S.C. $ 1681.



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         79.     There was a causal connection between the prrotected activity of   filing   a   Title IX

 complaint and Plaintiff receiving a failing grade from Defendant Forgey.

         80.    Wherefore, Plaintiff seeks equitable and monetary r:elief.

                                    THIRD CAUSE OF AC'TION

                            HOSTILE EDUCATIONAL EN'YIRONMENT
                          IN VIOLATION OF CIVI RIGH'|S ACT OF 1964
                                           42 U.S.C. $ 2000e



       81.      Plaintiffhereby repeats and realleges each allegation in the paragraphs above.

       82.      Defendants created a hostile educational/work environment throush sexual

 harassment and educational retaliation.

       83.      Plaintiff s participation and performance in her coursework was altered by the

 hostile environment.

       84.      Defendants' actions were objectively severe and abusive, so as, to alter the

 conditions of the Plaintiff s educational environment.

       85.      Defendants are subject to the provisions of 42 U.S.(J. $ 2000e.

       86.      Wherefore, Plaintiff seeks equitable and monetary relief.

                                 FOURTH CAUSE OF ACTION

                                       CryIL RIGHTS CLAIM
                         IN VIOLATION OF EQUAL PROTECTIION RIGHTS
                                       42 U.S.C. S 1983

         87.    Plaintiff hereby repeats and realleges each allegation in the paragraphs above.

        88.     Plaintiff s Equal Protection rights were violated by Defendant Robinson engaging

irn sexual harassment.


        89.     Ttre harassment was sufficiently offensive and humiliating to cause great distress

and to interfere with PlaintifPs academic performance.



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          90.     Defendant Robinson had the authority over his studlents to perform the duties    of

hisjob   as Professor.


          91.     Defendant Robinson acted under color of state law by abusing his position as

Professor and masturbatins in front of a student durins aZoom class session.

          92.     nrf"rra*t-nobinson is subject to the f,roti.lorm of 42 U.S.C. $ 1983.

          93.       Wherefore, Plaintiff seeks equitable and monetary relief.

                                       FIFTH CAUSE OF ACTION

                                      CIYIL RIGHTS CLAIM
                           IN VIOLATION OF EQUAL PRO'TECI'ION RIGHTS
                                           42 U.S.C. S 1983

          94.     PlaintifPs Equal Protection rights were violated by Defendant Forgey engaging in

retaliation for Plaintiff complaining of co-defendant Robinson's in sexual harassment.

          95.     The retaliation was suffrciently offensive and humiliating to cause great distress

emd   to interfere with Plaintiff s academic performance.

          96.     Defendant Forgey had the authority over her rstuderrts to perform the duties of her

job as Professor.

          97.     Defendant Forgey acted under color of state law by abusing her position as

Professor and failing Plaintiff in the course SOWK 6323 wittout warning or opportunity to

remedy the grade.

          98.       Defendant Forgey is subject to the provisions of 42 U.S.C. $ 1983.

          99.       Wherefore, Plaintiff seeks equitable and monetary r:elief.

                                        SIXTH CAUSE OF AC'TION

                      INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                              NEW YORK EXECUTM LAW S 50

          100.    Plaintiffhereby repeats and realleges each allegation in the paragraphs above.



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        101.      Defendant Robinson engaged in extreme and outrageous conduct when he

masturbated in a Zoom call with the Plaintiff, while other students were in breakout rooms.

        I02.      Defendant Robinson had intent to cause, or had a reckless disregard of a

substantial probability of causing, severe emotional distress because he masturbated on aZoom

call with his camera and sound on.

        103.      There was a causal connection between conduct and injury because the Defendant

Robinson's act of masturbating in front of the Plaintiff caused her pain and suffering.

        I04.      Plaintiff suffered severe emotional distress.

        105. Defendant       Robinson is subject to the provisions of N.Y. Executive Law $ 50.

        106.      Wherefore, Plaintiff seeks equitable and monetary r:elief.

                                    SEVENTH CAUSE OF ACTIOIN

                    INTENTIONAL INFLICTION OF EMOTIOI{AL DISTRESS
                            NEW YORK EXECUTTVE LAW S 50

        107.      Plaintiffhereby repeats and realleges each allegation in the paragraphs above.

        108.      Defendant Forgey engaged in extreme and outrageous conduct when she failed

Plaintiff in a cour:se, preventing her from graduating on time and loading to   a loss   of scholarship.

        109.      Plaintiff was not given a warning or opportunity to remedy her grade.

        110.      There was a causal connection between the conduct and injury because the

Defendant's act of failing Plaintiff caused her pain and suffering.

        11   1.   Defendant Forgey is subject to the provisions of N. Y. Executive Law $ 50.

        ll2.      Wherefore, Plaintiff seeks equitable and monetary relief.


        WHEREIIORE, the Plaintiff prays that this Court grant judgment to her containing the

followins relief:




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      a.          Equitable relief, as follows:

                        i.         an expungement of the failing grade in SOWK 6323                 from
                  Plaintiff s academic record;
                       ii. Admission of the Plaintiff into the Ciraduate Masters of Social
                  Work program;
                       iv. A written apology for the actions of the Defendants;
      b.           Compensatory damages for the costs of Plaintiffs lost scholarship;

      c.           Compensatory damages in the amount of Plaintilf s pain and suffering;

      d.           Compensatory damages in the amount of Plaintilf s costs of tuition and the
                   other costs ofthe protracted undergraduate education;

      e.           An award of punitive damages;

      f.           An award of reasonable attorney fees and the cost of this action; and

      o            Such other and further relief as this Court may deem just and proper.



Jury Demand

      Plaintiff   rrequests   trial by jt y in this action.


Dated: White Plains New York
       September 21,2021


                                                              ANTH()NY J. SIANO, ESQ., PLLC



                                                              Bv:       Antho Z               Esq. (AJS8842)
                                                              A   tt   orn ey foi laint iff
                                                                                 tD

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


ANDREA MORIN,
                               Plaintiff,


                       -against-                                       Index No.

FORDHAM UNIVERSITY, HOWARD ROBINSON,
MARY ANN FORGEY

                               Defendants.




                                            VERIFICATION

       ANDREA MORIN, under the penalties of perjury, deposes and says:

       I am the plaintiff in the above-entitled action. I have read the foregoing Complaint and

the same is true to my own knowledge, except as to the matters therein stated to be alleged upon

inf,ormation and belief and as to those matters I believe it to be true.




                                                    ANDREA MORITN




Sw    to before me this
    day of




                                                  16
